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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

 ALBERT TRAVIS SPAULDING,                            §
      Plaintiff,                                     §
                                                     §
 vs.                                                 §      C.A. NO. ________________
                                                     §
 MATTHEW C. MAY, in personam, and M/Y                §      IN ADMIRALTY – RULE 9(h)
 PICKINGARB, her engines, tackle,                    §
 equipment, electronics, rigging, furniture,         §
 appurtenances, etc., in rem,                        §
        Defendants.                                  §



                          PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE UNITED STATES DISTRICT/MAGISTRATE JUDGE:

       Plaintiff, ALBERT TRAVIS SPAULDING, files this Original Complaint complaining of

Defendants MATTHEW C. MAY, in personam, and the M/Y PICKINGARB, her engines, tackle,

equipment, electronics, rigging, furniture, appurtenances, etc., in rem, (hereinafter sometimes

collectively “Defendants”), and for causes of action would respectfully show unto this Honorable

Court as follows:

                                                I.
                                JURISDICTION AND VENUE

       1.01    This is a case of admiralty and maritime jurisdiction within the meaning of Article

III, Section 2 of the United States Constitution, 28 U.S.C. § 1333, Rule 9(h) of the Federal Rules

of Civil Procedure.

       1.02    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2), as the substantial part

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of the events or omissions giving rise to the claim occurred within the Southern District of

Texas.

                                               II.
                                           PARTIES

         2.01   Plaintiff, ALBERT TRAVIS SPAULDING, is a resident of Texas.

         2.02   Defendant in personam MATTHEW C. MAY is, upon information and belief, a

natural person and resident of Texas. Defendant MATTHEW C. MAY may be served with

process at his residence located at 4603 Drake Falls Ct., Katy, Texas 77450, or wherever he may

be found.

         2.03   Defendant in rem M/Y PICKINGARB, her engines, tackle, equipment, electronics,

rigging, furniture, appurtenances, etc., is, upon information and belief, presently in the

possession and custody of the Texas Parks & Wildlife Department in Port O’Connor, Texas, and

is and will remain within the jurisdiction of this District during the pendency of these

proceedings.

                                              III.
                                            FACTS

         3.01   On or about the evening of August 24, 2018, Plaintiff, ALBERT TRAVIS

SPAULDING (“Plaintiff”), was boating/fishing with his six year-old and twenty-four year-old

sons on his 26-foot Majek bay boat. At approximately 7:45 p.m. local time, Plaintiff and his two

sons were on Plaintiff’s boat in the Intracoastal Waterway (“ICW”), slightly east of the entrance

to the “Sanctuary” in Port O’Connor, Texas, approximately 50 feet from the north bank of the

ICW.      Plaintiff’s boat was underway, but not making way, and was exhibiting proper

navigational lights pursuant to 33 CFR, Part 83, Subpart C.         While doing so, suddenly,
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unexpectedly, and without warning, the M/Y PICKINGARB (United States Coast Guard No.

1265242) (hereinafter sometimes, the “Vessel”) moving at significant speed collided into the

port side (vessel’s left side) of Plaintiff’s boat at approximately amidships, and proceeded over

and past Plaintiff’s boat. The force of the collision and impact caused severe and potentially life-

threatening injuries to Plaintiff, and resulted in the sinking of Plaintiff’s boat. Upon information

and belief, at all times relevant hereto, Defendant MATTHEW C. MAY was the owner and/or

operator of the M/Y PICKINGARB, which collided into Plaintiff’s boat.

         3.02   The United States Coast Guard (“USCG”) responded to the collision with aircraft

and boat crews, and rescued Plaintiff and his sons. Upon information and belief, the USCG

arranged emergency air transportation for Plaintiff to a Houston-area hospital for emergency

treatment of his injuries. Upon further information and belief, the USCG and/or Texas Parks &

Wildlife Department (“TPWD”) salvaged Plaintiff’s foundered boat, and took and retain

possession and control of Plaintiff’s boat and of the M/Y PICKINGARB.

         3.03   At all times material hereto, both Plaintiff’s boat and the M/Y PICKINGARB were

operating within the inland waters of the United States. Defendants and/or their crew, officers,

agents, servants, and/or employees were responsible for operating the M/Y PICKINGARB in

accordance with the rules Set forth in 33 CFR, Part 83, and as established by the Inland

Navigation Rules Act of 1980 and the technical annexes established under that Act.

                                                IV.
                                     CAUSES OF ACTION

                             Count I: General Maritime Negligence

         4.01   Plaintiff re-alleges each and every allegation set forth in Paragraphs 3.01 – 3.03

above.
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       4.02    Plaintiff would show that MATTHEW C. MAY, in personam, and the M/Y

PICKINGARB, in rem, her crew, officers, agents, servants, and/or employees are liable and

accountable for the collision, and Plaintiff’s injuries and damages, in that same resulted from,

and was caused solely and exclusively by the fault, omission, and/or otherwise negligent and

wrongful conduct of said Vessel, her crew, officers, agents, servants, and/or employees;

including, but not limited to one or more of the following particulars:

       (a)     The M/Y PICKINGARB was unseaworthy;

       (b)     The M/Y PICKINGARB was in the charge of incompetent officers and
               crew;

       (c)     Failing to keep a proper lookout as required;

       (d)     Failing to operate the M/Y PICKINGARB in a reasonably safe and prudent
               manner under the circumstances leading up to the moment the M/Y
               PICKINGARB struck and ran over Plaintiff’s boat;

       (e)     Failing to make proper use of the M/Y PICKINGARB’s navigational
               equipment;

       (f)     Failing to operate the M/Y PICKINGARB at a safe speed under the
               prevailing circumstances and conditions;

       (g)     Failing to timely observe and take the necessary and proper action to avoid
               collision with Plaintiff’s boat;

       (h)     Failing to sound the whistle signals required in the circumstances;

       (i)     Failing to sound the whistle signals required at the proper time;

       (j)     Said Vessel failed to adhere to applicable Inland Navigation Rules; and

       (k)     Other acts so deemed negligent, particulars to be shown at trial of this
               cause.


       4.03    Each of the foregoing acts, individually or collectively, constitute negligence,

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which directly and proximately caused the resulting injuries and damages sustained by Plaintiff.

         4.04   Plaintiff’s injuries and damages arising from Defendants’ negligence were not

culminated by any contributing fault of his own, but solely the incompetence, inattention, lack of

care, disregard, and otherwise unreasonable conduct of Defendants MATTHEW C. MAY and

the M/Y PICKINGARB, her crew, officers, agents, servants, and/or employees.

                         Count II: General Maritime Negligence Per Se

         4.05   Plaintiff re-alleges each and every allegation set forth in Paragraphs 3.01 – 3. 03

above.

         4.06   At all times material hereto, Defendant MATTHEW C. MAY was operating

Defendant in rem, M/Y PICKINGARB, upon the inland waters of the United States. All vessels

operating upon the inland waters of the United States are governed by the Inland Navigation

Rules contained in 33 CFR, Part 83 and the Inland Navigation Rules Act of 1980 and the

technical annexes established under that Act. Defendants had a duty to follow such rules, but

disregarded such duty in—among others—the following ways:

         (a)    Failing to act in the ordinary practice of seamen by disregarding dangers of
                navigation and collision, special circumstances, and the limitations of the M/Y
                PICKINGARB;

         (b)    Failing to maintain a proper look-out by sight, hearing, and all available means
                appropriate to the prevailing circumstances and conditions;

         (c)    Failing to operate the M/Y PICKINGARB at a safe speed;

         (d)    Failing to use all available means appropriate to determine if risk of collision
                existed, and/or making assumptions regarding the existence of a risk of collision
                based upon scanty information;

         (e)    Failing to take proper action to avoid the collision;

         (f)    Failing to sound proper signals on the M/Y PICKINGARB’s whistle; and
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         (g)    Other acts and omissions in violation of applicable statutes and regulations.


         4.07   Each of the foregoing violations, individually or collectively, constitute

negligence per se, are unexcused, and directly and proximately caused Plaintiff’s injuries and

damages.

         4.08   Plaintiff’s injuries and damages arising from Defendants’ per se negligence were

not culminated by any contributing fault of his own, but solely the incompetence, inattention,

lack of care, disregard, and otherwise unreasonable conduct of Defendants MATTHEW C. MAY

and the M/Y PICKINGARB, her crew, officers, agents, servants, and/or employees.

                         Count III: General Maritime Gross Negligence

         4.09   Plaintiff re-alleges each and every allegation set forth in Paragraphs 3.01 – 3. 03

above.

         4.10   The condition of the M/Y PICKINGARB and her appurtenances, and the unsafe

manner in which same was operated at the time of the events giving rise to this lawsuit, exposed

Plaintiff to extreme hazards. Defendants were operating the Vessel at excessive and unsafe

speeds at the time of the collision, without regard for the prevailing circumstances and

conditions. Defendants were on notice of the hazardous and dangerous conditions relating to the

operation of the Vessel under the prevailing circumstances and conditions.            Nevertheless,

Defendants knowingly ignored safety concerns and/or knowledge of hazards relating to the safe

navigation of the Vessel, and proceeded with disregard for same.

         4.11   Defendants proceeded with knowledge or conscious indifference in not taking

preventative and remedial action for the safety and welfare of Plaintiff and others by failing to

alleviate the extreme risk posed by the unsafe manner in which Defendants were navigating at

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the time of the subject collision.

       4.12    Defendants knew – or should have been aware – a high likelihood existed that an

accident would ensue if their conduct continued in the face of such danger, yet decided to

disregard same in imposing the dangerous and deplorable conditions of conduct of Defendants

upon the rights, safety, and welfare of Plaintiff.

       4.13    Plaintiff’s injuries and damages were not culminated by any contributing fault of

his own, but solely due to the negligence of Defendants.

                                                     V.
                                             DAMAGES

                                     Pecuniary and Non-Pecuniary

A.     ACTUAL DAMAGES

       5.01    As a result of these occurrences and negligent acts, Plaintiff sustained severe and

permanent injuries to his person. In addition to the expenses incurred by him and incapacity to

labor caused by his injuries, he has been put to much expense for treatment; such expense is still

continuing and he is unable to state the full amount thereof.

       5.02    Categorical damages which Plaintiff seeks to recover from Defendants include

compensation for the following:

       (a)     physical disability sustained by Plaintiff from the date of injury to the time of
               trial;

       (b)     future physical disability reasonably anticipated to be sustained by Plaintiff in the
               future;

       (c)     physical pain and suffering sustained by Plaintiff from the date of injury to time
               of trial;

       (d)     physical pain and suffering which is reasonably anticipated to be suffered by
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                Plaintiff in the future;

        (e)     loss or earnings sustained by Plaintiff from the date of injury to time of trial;

        (f)     loss of earnings and earning capacity reasonably anticipated to be suffered by
                Plaintiff in the future;

        (g)     reasonable and necessary medical expenses incurred by Plaintiff in the treatment
                of Plaintiff’s injuries from the date of injury to time of trial;

        (h)     reasonable and necessary medical expenses reasonably anticipated to be sustained
                by Plaintiff in the future for treatment of Plaintiff’s injuries;

        (i)     past and future physical disfigurement; and

        (j)     past and future physical impairment.

        5.03    In addition to the foregoing, Plaintiff seeks to recover the value of damages to his

boat, including the loss of electronics, personal property, equipment, etc. as a result of the subject

collision.

B.      PUNITIVE DAMAGES

        5.04    Defendants’ deliberate wrongdoing amounts to gross negligence so as to show a

callous disregard for the rights of others, entitling Plaintiff to punitive damages under general

maritime law.

        5.05    Accordingly, pursuant to Article 3, Section 2, Clause 1 of the United States

Constitution, Plaintiff seeks punitive or exemplary damages in an amount not less than THREE

TIMES COMPENSATORY DAMAGES. Defendants’ course of conduct justifies – and, indeed,

requires – imposition of exemplary/punitive damages against them in order to punish and

discourage their above-described harmful and egregious behavior in the future.




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                                            VI.
                                        INTEREST

      6.01   Plaintiff seeks pre-judgment and post-judgment interest as allowed by law.

                                            VII.
                                         PRAYER

WHEREFORE, Plaintiff prays:

      (a)    That process in due form of law according to the practice of this Honorable Court
             issue against Defendants summoning each to appear and answer, all and singular,
             the matters aforesaid;

      (b)    That a warrant for the arrest of the M/Y PICKINGARB may issue, and that all
             persons claiming any interest may be cited to appear and answer this matter;

      (c)    That a judgment may be entered in favor of Plaintiff, ALBERT TRAVIS
             SPAULDING, in an amount of each claim to be determined, with interest and
             costs, and that the M/Y PICKINGARB may be condemned and sold to pay the
             same;

      (d)    That upon final hearing, Plaintiff have judgment against Defendants named
             herein, both jointly and severally;

      (e)    That Plaintiff have pre-judgment and post-judgment interest and all costs of
             Court; and

      (f)    That Plaintiff may have such other and further relief as the Court and justice may
             deem just and appropriate under the circumstances of the cause.




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                                             Respectfully submitted,

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